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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 In re GRAND JURY INVESTIGATION
                                                    Grand Jury Action No. 18-34 (BAH)

                                                    Chief Judge Beryl A. Howell

                                                    FILED UNDER SEAL

                                            ORDER

       Upon consideration of the witness’s Motion to Be Held in Civil Contempt and to Stay

Any Such Order (“Witness’s Mot.”), ECF No. 33, the government’s Motion to Compel and for

Order to Show Cause (“Gov’t’s Mot.”), ECF No. 34, the related legal memoranda in support and

opposition to these motions, the arguments raised at the hearing held on August 10, 2018, and

the entire record herein, the Court makes the following Findings of Fact:

       1. On May 10, 2018, the government served on the witness two grand jury subpoenas to

           produce documents and to appear before the grand jury on May 18, 2018, but

           following the witness’s initial agreement and then retraction to meet voluntarily with

           the government, he failed to appear before the grand jury on that date, as one of the

           subpoenas had required.

       2. On May 23, 2018, the government emailed the witness’s counsel a second set of

           subpoenas to testify before the grand jury and produce documents by June 1, 2018,

           which date for testimony was postponed at the witness’s request until June 8, 2018.

           On June 8, 2018, the witness again failed to appear before the grand jury.

       3. The government thereafter moved to compel the witness’s testimony and for an order

           to show cause why the witness should not be held in contempt for failure to appear

           before the grand jury, which motions were granted at a hearing on June 18, 2018, at


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              which hearing the witness was directed to appear before the grand jury on June 29,

              2018.

        4. On June 28, 2018, the witness retained additional counsel, who that day filed a

              second motion to quash the pending grand jury subpoenas and to stay the Court’s

              order directing his appearance before the grand jury that day, raising two arguments

              as to the constitutionality of the Special Counsel’s appointment.

        5. On July 31, 2018, the Court issued an order, accompanied by a Memorandum

              Opinion explaining the Court’s reasoning, denying the witness’s second motion to

              quash and directing the witness to appear before the grand jury to provide testimony

              at the earliest date available to the grand jury and to complete production of the

              subpoenaed records promptly.

        6. Following the Order’s issuance, the government requested that the witness appear

              before the grand jury on August 10, 2018, but the witness again failed to appear.

              Instead, on August 9, 2018, the witness filed a motion seeking to be held in civil

              contempt for refusing to testify before the grand jury, as directed by the Court. See

              Witness’s Mot. at 1.

        7. On August 10, 2018, the government moved to compel the witness’s testimony and

              for an order to show cause why the witness should not be held in contempt. See

              Gov’t’s Mot.

        8. That same day, the parties appeared before the Court for a hearing.

        Accordingly, it is hereby

        ORDERED that the Witness’s Motion is GRANTED in part and DENIED in part; and it

is further



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       ORDERED that the Government’s Motion is GRANTED; and it is further

       ORDERED that the witness, Andrew Miller, is found in civil contempt of the Court’s

July 31, 2018 Order, ECF No. 22; and it is further

       ORDERED that the witness shall be confined at the District of Columbia Jail, as that

facility is nearest to the Grand Jury, until such time as the witness is willing to give such

testimony or provide such information as required by the Court’s July 31, 2018 Order, provided

that such period of confinement shall not exceed the life of the term of the grand jury, including

extensions, before which such refusal to comply with the Court’s Order occurred, and in no

event shall such confinement exceed eighteen months; and it is further

       ORDERED that this Order is STAYED until Tuesday, August 14, 2018 at 9:00 AM, at

which time the stay shall be lifted, except that the stay shall remain in place if the witness has

filed a Notice of Appeal or the witness and the government have filed a Stipulation setting out an

alternative arrangement.

       SO ORDERED.

       Date: August 10, 2018

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                                                       BERYL A. HOWELL
                                                       Chief Judge




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